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                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  UMG RECORDINGS, INC., et al.,

        Plaintiffs,

  v.                                             Case No. 8:19-cv-00710-MSS-TGW

  BRIGHT HOUSE NETWORKS, LLC

        Defendant.


          BRIGHT HOUSE NETWORKS, LLC’S MOTION TO COMPEL

        Bright House Networks, LLC (“Bright House”) brings this motion to compel

  Plaintiffs to comply with their discovery obligations by (1) producing readily available

  materials from other substantially similar lawsuits (RFPs Nos. 100-103) and

  (2) admitting or denying whether Plaintiffs in fact hold the rights to certain works that

  formed a basis of their copyright infringement claims (RFAs Nos. 110-364).

                                    BACKGROUND

        I.     THE PARALLEL SUITS

        This lawsuit is part of a nationwide set of actions brought by music publishers

  and record labels seeking to hold various internet service providers liable for alleged

  copyright infringement of musical compositions and sound recordings carried out by

  third-party internet users.   This protracted litigation campaign has included two

  lawsuits in Virginia and one each in New Jersey and Texas, as well as Plaintiffs’

  current parallel case in Colorado against Bright House’s successor, Charter



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  Communications. See Sony Music Ent. v. Cox Commc’ns, Inc., No. 1:18-cv-950-LO-IDD

  (E.D. Va.) (the “Sony Litigation”); UMG Recordings v. Grande Commc’ns, No. 1:17-cv-

  00365-DAE (W.D. Tex.) (the “Grande Litigation”); BMG Rights Mgmt. (US) LLC v. Cox

  Enters., Inc., No. 1:14-cv-01611-LOG-JFA (E.D. Va.) (the “BMG Litigation”); UMG

  Recordings, Inc. v. RCN Telecom Servs., LLC, No. 3:19-cv-17272-MAS-ZNQ (D.N.J.)

  (the “RCN Litigation”); Warner Records Inc. v. Charter Commc’ns, Inc., No. 19-cv-00874-

  RBJ-MEH (D. Colo.) (the “Charter Litigation”).

        Each of these suits asserts the same claims and are based on the same legal

  theories as the instant litigation and involve many of the same plaintiffs, with much of

  the claims periods and works-in-suit also overlapping. Plaintiffs have repeatedly

  invoked these other cases before this Court in arguing they are entitled to discovery,

  making clear they consider discovery in the copycat litigations to be closely connected

  with the discovery implicated by this case. See, e.g., Ex. A, Sept. 24, 2020 Hr’g Tr.

  29:6-21 (Plaintiffs arguing they should receive discovery that “has been ordered to be

  produced in every single contributory copyright infringement case against an ISP that

  we’re aware of”).

        In light of the fact that discovery in these parallel cases implicates many of the

  same parties, third parties, fact witnesses, expert witnesses, core facts, and legal

  theories, Bright House served discovery requesting that Plaintiffs produce a variety of

  materials developed in discovery in those cases or used in pleadings or at trial in the

  Sony, Grande, BMG, and RCN Litigations. Ex. B, Bright House’s 4th Set of RFPs (Nov.

  25, 2020) at RFP Nos. 100-103. Plaintiffs agreed to produce a limited set of materials

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  from the Sony and Grande Litigations, but otherwise stonewalled Bright House’s

  requests. Ex. C, Pls.’ Objs. & Resps. to Bright House’s 4th Set of RFPs (Jan. 8, 2021)

  at RFP Nos. 100-203.

        Meanwhile, Bright House’s successor, Charter, served similar requests in the

  Charter Litigation seeking materials from the Sony and Grande Litigations. After

  Plaintiffs there likewise largely refused to comply, the Special Master and the

  Magistrate Judge jointly ordered Plaintiffs to produce deposition transcripts,

  declarations, and exhibits thereto of plaintiff witnesses, defendant witnesses, third

  party witnesses, and expert witnesses, as well as expert reports. See Ex. D, Charter Feb.

  23, 2021 Hr’g Tr. 186:2-24.      The Special Master and Magistrate Judge rejected

  Plaintiffs’ argument that it was improper for Charter to “piggyback” on others’ work

  and must “plow [its] own road,” holding that there was not any “principled reason not

  to produce the material” Charter sought. Id. at 181:23-182:4, 183:17-20,186:2-3.

        In light of this ruling and Plaintiffs’ prior objections, Bright House offered to

  narrow the scope of its requests to what Plaintiffs were already producing in the Charter

  Litigation, namely deposition transcripts, declarations, and expert reports from the

  Sony and Grande Litigations as well parallel material from the BMG and RCN

  Litigations. Ex. E, Mar. 17, 2021 K. Akopjan Email. Plaintiffs stood on their (by then

  outdated) objections and refused to produce anything beyond the limited set of

  documents they had already agreed to provide. Ex. F, Mar. 19, 2021 K. Goler Email.




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        II.    THE DROPPED WORKS

        On January 7, 2020, Plaintiffs amended their Complaint to abruptly drop,

  without explanation, more than 250 works-in-suit (the “Dropped Works”).            To

  determine whether Plaintiffs sent notices of alleged infringement for and brought suit

  on works they did not own, Bright House first sought documents sufficient to show

  Plaintiffs’ ownership of the Dropped Works. This Court denied Bright House’s

  request. Ex. G, Oct. 9, 2020 Hr’g Tr. 117:7-118:13. Based on the Court’s guidance,

  Bright House served narrower discovery requests directly focused on the core issue,

  requesting Plaintiffs simply admit or deny that they did not own the Dropped Works.

  Ex. H, Bright House’s 3d Set of RFAs (Nov. 25, 2020) at RFAs Nos. 110-364.

  Plaintiffs have refused to answer these requests for admission—leaving Bright House

  with no way to determine ownership of the Works. Ex. I, Pls.’ Objs. & Resps. to

  Bright House’s 3d Set of RFAs (Jan. 8, 2021) at RFAs Nos. 110-364; Ex. J, Feb. 3,

  2021 P. Hill Email (dismissing Bright House’s detailed explanation of why the requests

  were proper in light of the case law and the Court’s prior ruling).

                                  LEGAL STANDARD

        Federal Rule of Civil Procedure 26(b) provides for discovery into “any

  nonprivileged matter that is relevant to any party’s claim or defense and proportional

  to the needs of the case.” Fed. R. Civ. P. 26(b)(1). The Federal Rules “strongly favor

  full discovery whenever possible.” Cotto v. Notter Sch. of Culinary Arts, LLC, 2014 WL

  12623795, at *1 (M.D. Fla. July 7, 2014)(quoting Farnsworth v. Procter & Gamble Co.,

  758 F.2d 1545, 1547 (11th Cir. 1985)). To avoid discovery, a party bears the burden


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  of demonstrating “either that the requested discovery (1) does not come within the

  broad scope of relevance as defined under Rule 26 or (2) is of such marginal relevance

  that the potential harm occasioned by discovery would far outweigh the ordinary

  presumption in favor of broad disclosures,” and must do so “with specificity.” Heflin

  Bus., Inc. v. Aviation Engine Serv., Inc., 2012 WL 12864935, at *2 (S.D. Fla. Aug. 14,

  2012) (citations omitted).

                                         ARGUMENT

  I.    PLAINTIFFS SHOULD BE ORDERED TO PRODUCE BASIC
        MATERIALS FROM THE COPYCAT LAWSUITS (RFPs 100-103).

            ORIGINAL RFP 100: Documents concerning the lawsuit Sony Music
        Entertainment, et al. v. Cox Communications, Inc., et al., Case No. 1:18-cv-950-LO-
        IDD, in the United States District Court, Eastern District of Virginia,
        Alexandria Division, including but not limited to: documents produced by
        Plaintiffs in the case; deposition transcripts and exhibits thereto of depositions
        taken in the case or otherwise admitted as evidence in the case; fact and expert
        declarations submitted in the case whether at trial or in support of motion
        practice; expert reports submitted in the case; written discovery responses
        served or filed by Plaintiffs in that case; unredacted versions of pleadings and
        submissions to the court in the case; trial exhibits in the case; and source code
        produced in the case in document format based on print requests by Cox.
            NARROWED RFP 100: Deposition transcripts, declarations, and any
        exhibits thereto of plaintiff witnesses, defendant witnesses, third-party
        witnesses, and expert witnesses, and expert reports and any exhibits thereto in
        Sony Music Entertainment, et al. v. Cox Communications, Inc., et al., Case No. 1:18-
        cv-950-LO-IDD, in the United States District Court, Eastern District of
        Virginia, Alexandria Division.
            OBJECTIONS & RESPONSE TO RFP 100: Plaintiffs object to this
        omnibus request for virtually all documents created during, produced in, and
        filed in a separate litigation, because the request is overly broad, unduly
        burdensome, and not proportional to the needs of the case. Plaintiffs also object
        to this request because it seeks information not relevant or important to
        resolving issues in the action, as it seeks information on issues that are
        irrelevant to this case, including but not limited to ownership and notices
        regarding copyrighted works asserted by the plaintiffs in Sony Music
        Entertainment, et al. v. Cox Communications, Inc., et al. (the “Sony Litigation”);
        affirmative defenses not at issue here; works not at issue here; entities that are


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       not parties to this litigation; and documents concerning information outside the
       relevant claim period in this litigation. The request is also cumulative and
       duplicative of Request No. 63.
           With respect to documents produced by Plaintiffs in the Sony Litigation,
       Plaintiffs further object to this request as overly broad, irrelevant and
       cumulative. BHN has already served more than 100 document requests,
       encompassing many of the same topics addressed and documents produced in
       the Sony Litigation. Plaintiff further object that, to the extent this request seeks
       documents relevant to this litigation, it unnecessarily duplicates BHN’s other
       requests.
           With respect to deposition transcripts and exhibits thereto of all depositions
       taken in the Sony Litigation or otherwise admitted as evidence in the case,
       Plaintiffs further object to producing depositions other than of their own fact
       witnesses in that case. Plaintiffs further object to this request to the extent it
       requires Plaintiffs to disclose trade secrets or other confidential or proprietary
       information of third parties that is subject to the protective order entered in the
       Sony Litigation. Plaintiffs also object to production of expert depositions from
       the Sony Litigation as irrelevant, overbroad and improper. Plaintiffs further
       object to this request to the extent it seeks documents “admitted as evidence in
       the case,” which are public and equally available to BHN.
           With respect to fact and expert declarations submitted in the case whether
       at trial or in support of motion practice, Plaintiffs further object to this request
       as vague and ambiguous because it does not specify which declarations are
       sought. Plaintiffs further object to this request to the extent it seeks documents
       containing confidential information of third parties that is subject to the
       protective order entered in the Sony Litigation, and because it seeks documents
       that are public and equally available to BHN.
           With respect to expert reports submitted in the case, Plaintiffs further object
       to this request to the extent it purports to require Plaintiffs to disclose
       confidential, proprietary, or protected information belonging to third parties,
       and because BHN has already engaged its own experts and may not freeride on
       the work of experts in a separate case through an improper document request.
           With respect to written discovery responses served or filed by Plaintiffs in
       the case, Plaintiffs further object to this request as overbroad, vague and
       ambiguous because it either improperly seeks all written discovery responses
       regardless of the subject matter of such discovery requests, or does not identify
       what specific information is being sought. Plaintiffs further object that any
       discovery responses filed in the Sony Litigation are equally available to BHN,
       and because this request seeks an impermissible end-run around the numeric
       limits on interrogatories under the Federal Rules of Civil Procedure.
           With respect to pleadings and submissions to the court in the case, Plaintiffs
       further object because the submissions to the court in the Sony Litigation are
       overwhelmingly public and equally available to BHN, and because the request



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        is overbroad, disproportionately burdensome, and irrelevant in seeking all
        pleadings and submissions without regard to subject matter.
            With respect to the trial exhibits in the case, Plaintiffs further object because
        the documents sought are public and equally available to BHN, and irrelevant
        in seeking documents unrelated to the issues in this case.
            With respect to the source code produced in the case, Plaintiffs further
        object to this request because it seeks trade secret, confidential and/or
        proprietary information of third parties that is subject to the protective order
        entered in the Sony Litigation, as well as additional non-disclosure obligations.
        Plaintiffs further object because BHN’s expert has inspected the source code for
        both Audible Magic and MarkMonitor and BHN can make its own requests
        for portions of those companies’ source code that its experts deem relevant
        here. Plaintiffs also object to producing the requested source code as an
        improper attempt to discover what experts in a different case thought was
        important in requesting print-outs of certain portions.
            Subject to and without waiving the foregoing general and specific
        objections, Plaintiffs will produce non-public deposition transcripts of the Sony
        Plaintiffs’ fact witnesses from the Sony Litigation, and the following Sony
        Plaintiffs’ declarations submitted under seal: Jeremy Blietz (ECF 325-10),
        David Kokakis (ECF 325-8), Wade Leak (ECF 325-3), Alasdair McMullan
        (ECF 325-9), Anish Patel (ECF 325-4), Steven Poltorak (ECF 325-5), Anish
        Patel (ECF 208-8), Melissa Battino (ECF 208-3), Jeremy Blietz (ECF 208-4),
        Julie Chen-Burton (ECF 208-5), Chiara Genovese (ECF 207-6), and David
        Jacoby (ECF 207-7).

        Record labels and publishers within the music industry, including the Plaintiffs

  in this litigation, have brought a series of copycat lawsuits against internet service

  providers across the country over the past several years, in each case alleging the same

  conduct and claims as in this lawsuit. In the first major case in Plaintiffs’ campaign—

  the Sony Litigation—a group of record labels and music publishers that include the

  Plaintiffs in this litigation brought claims against internet service provider Cox

  Communications, premised on the same theories, and seeking the same relief as those

  asserted against Bright House here. As this Court is aware, Plaintiffs have heavily

  relied on the Sony Litigation when arguing how this case should proceed. Notably,




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  the scope of discovery Plaintiffs seek in this litigation substantially overlaps with the

  scope of discovery in the Sony Litigation, and Plaintiffs are likely to put forward many

  of the same corporate representatives as in the Sony Litigation. In addition, Plaintiffs’

  expert disclosures in this case indicate they will rely on many of the same expert

  witnesses as in Sony. Plaintiffs in this case have even relied on demonstratives they

  used in the Sony Litigation to argue that they should be able to obtain similar discovery

  here. See Ex. A, Sept. 24, 2020 Hr’g Tr. 27:16-21 (pointing to exhibit used in Sony as

  an example of what “a demonstrative looks like with th[e] information” that Plaintiffs

  sought in this case); Ex. K, Dkt. 157-16, Sony Demonstrative (Aug. 14, 2020).

         Indeed, Plaintiffs here have repeatedly invited this Court to treat the Sony

  Litigation (and the other copycat lawsuits) as substantially identical to this case. See,

  e.g., Ex. A, Sept. 24, 2020 Hr’g Tr. 29:6-21 (Plaintiffs arguing they should receive

  discovery that “has been ordered to be produced in every single contributory copyright

  infringement case against an ISP that we’re aware of, and [ha]s been admitted at trial

  in those that have gone to trial”); id. at 42:23-43:4 (Plaintiffs’ counsel arguing that they

  and Bright House’s counsel “can do what parties have managed to do in all these other

  cases where these claims are brought against ISPs”).

         Now, despite having ready access to materials bearing on the same claims

  relating to many of the same parties and witnesses as here, and despite having argued

  that that the Court should treat this case the same as “all these other cases where these

  claims are brought against ISPs,” id. at 42:25-43:1, Plaintiffs improperly refuse to turn




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  over basic evidence gathered in the Sony Litigation—deposition transcripts,

  declarations, and expert reports.

          Against this backdrop, Plaintiffs’ arguments that the material Bright House

  seeks is not relevant are untenable. The distinctions Plaintiffs draw between the Sony

  Litigation and this case are dwarfed by their similarities. For example, Plaintiffs object

  that the Sony Litigation involves some “entities that are not parties to this litigation,”

  “affirmative defenses not at issue,” “works not at issue,” and “information outside the

  relevant claim period in this litigation.” Supra, Objs. & Resps. RFP No. 100. In fact,

  thousands of the works-in-suit in this case were also subjects of the Sony Litigation.

  The claims period in the Sony case falls entirely within the claims period in this case.

  And, as noted above, most of the same plaintiffs are involved in this case. At any rate,

  the fact that one particular label or publisher was or was not a plaintiff in the Sony case

  is not a meaningful difference since the record labels and music publishers have

  consistently treated themselves as coherent entities and often act through their trade

  associations.1

          At bottom, Plaintiffs’ objections amount to little more than disapproval of a

  perceived attempt by Bright House to “freeride.” See supra, Objs. & Resps. RFP No.




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      In fact, Plaintiffs essentially admit in their Objections that the material Bright House seeks is
  relevant, asserting that “B[right] H[ouse] has already served more than 100 document requests,
  encompassing many of the same topics addressed and documents produced in the [copycat]
  Litigation[s].” Supra, Objs. & Resps. RFPs Nos. 100-101, 103. Having conceded that the subject of
  discovery in this case “encompass[es] many of the same topics addressed and documents produced”
  in the copycat cases, Plaintiffs cannot credibly assert that the materials produced in the copycat cases
  are irrelevant.


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  100. However, the Federal Rules’ liberal standard of discovery does not include a “no

  freeriding” rule, and courts in this circuit have compelled production of the type of

  discovery Bright House seeks. See Bishop v. Baldwin, 2020 WL 7320932, at *5-6 (S.D.

  Fla. Dec. 10, 2020) (ordering production of “[a]ll discovery received from defendants

  and third parties, and all deposition transcripts” in two separate actions pending in

  different jurisdictions, as “[a] comparison of the allegations in [the actions]

  confirm[ed] that the cases all involve the same alleged [unlawful] scheme”); Strickland

  v. Tristar Prods., Inc., 2017 WL 2874621, at *1 n.2 (S.D. Ga. July 5, 2017) (holding that

  “‘[p]iggyback’ discovery” from ten other cases was relevant and permissible “given the

  similarities and narrow number of cases plaintiffs seek,” before denying Plaintiffs’

  motion to compel without prejudice on other grounds). And, of course, the Magistrate

  Judge and the Special Master in the Charter Litigation already held that the plaintiffs

  in that case must produce depositions, declarations, and expert reports from the Sony

  Litigation. Ex. D, Charter Feb. 23, 2021 Hr’g Tr. 186:2-3. Bright House’s narrowed

  request falls comfortably within the bounds of discovery held to be reasonable and

  relevant in prior cases.

         Plaintiffs’ other objections fare no better. Plaintiffs assert that producing these

  readily-available materials would be “unduly burdensome,” see supra, Objs. & Resps.

  RFP No. 100, but they do not deny—nor could they—that the materials Bright House

  seeks are readily available. Indeed, Plaintiffs have already produced in the parallel

  Charter Litigation the materials Bright House seeks here. Rather than imposing a

  burden, allowing the parties to rely on information already gathered in a near-identical

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  case will promote efficiency. Plaintiffs attempt to use the protective order in the Sony

  Litigation to shield them from their discovery obligations, but that order is not an

  absolute bar on production and provides explicit exceptions for circumstances such as

  these. Plaintiffs have proven perfectly capable of working with defense counsel in the

  Charter Litigation to navigate the protective order in order to produce exactly the

  materials Bright House is seeking here. And of course, Plaintiffs’ productions would

  similarly be protected by the protective order in this case.

        Both the Special Master and the Magistrate Judge in the Charter Litigation

  found that there was no “principled reason not to produce” the categories of material

  Bright House seeks and ordered it produced. Ex. D, Charter Feb. 23, 2021 Hr’g Tr.

  186:2-3. The outcome should be no different here.

            ORIGINAL RFP 101:                Documents concerning the lawsuit UMG
        Recordings, et al. v. Grande Communications et al., Case No. 1:17-cv-00365-DAE,
        in the United States District Court, Western District of Texas, Austin Division,
        including but not limited to: documents produced by Plaintiffs in the case;
        deposition transcripts and exhibits thereto of depositions taken in the case or
        otherwise admitted as evidence in the case; fact and expert declarations
        submitted in the case whether at trial or in support of motion practice; expert
        reports submitted in the case; written discovery responses served or filed by
        Plaintiffs in that case; unredacted versions of pleadings and submissions to the
        court in the case; trial exhibits in the case; and source code produced in the case
        in document format based on print requests by Grande.
           NARROWED RFP 101: Deposition transcripts, declarations, and any
        exhibits thereto of plaintiff witnesses, defendant witnesses, third-party
        witnesses, and expert witnesses, and expert reports and any exhibits thereto in
        UMG Recordings, et al. v. Grande Communications et al., Case No. 1:17-cv-00365-
        DAE, in the United States District Court, Western District of Texas, Austin
        Division.
            OBJECTIONS & RESPONSE TO RFP 101: Plaintiffs object to this
        omnibus request for virtually all documents created during, produced in, and
        filed in a separate litigation, because the request is overly broad, unduly
        burdensome, and not proportional to the needs of the case. Plaintiffs also object



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        to this request because it seeks information not relevant or important to
        resolving issues in the action, as it seeks information on issues that are
        irrelevant to this case, including but not limited to ownership and notices
        regarding copyrighted works asserted by the plaintiffs in UMG Recordings, et al.
        v. Grande Communications et al. (the “Grande Litigation”); affirmative defenses
        not at issue here; works not at issue here; entities that are not parties to this
        litigation; and documents concerning information outside the relevant claim
        period in this litigation. The request is also cumulative and duplicative of
        Request No. 63.
           With respect to documents produced by Plaintiffs in the Grande Litigation,
        Plaintiffs further object to this request as overly broad, irrelevant and
        cumulative. BHN has already served more than 100 document requests,
        encompassing many of the same topics addressed and documents produced in
        the Grande Litigation. Plaintiff further object that, to the extent this request
        seeks documents relevant to this litigation, it unnecessarily duplicates BHN’s
        other requests.
            With respect to deposition transcripts and exhibits thereto of all depositions
        taken in the Grande Litigation or otherwise admitted as evidence in the case,
        Plaintiffs further object as irrelevant and overbroad. Plaintiffs further object to
        this request to the extent it requires Plaintiffs to disclose trade secrets or other
        confidential or proprietary information of third parties that is subject to the
        protective order entered in the Grande Litigation. Plaintiffs also object to
        production of expert depositions from the Grande Litigation as irrelevant,
        overbroad, and improper. Plaintiffs further object to this request to the extent it
        seeks documents “admitted as evidence in the case,” which are public and
        equally available to BHN.
            With respect to fact and expert declarations submitted in the case whether
        at trial or in support of motion practice, Plaintiffs further object to this request
        as vague and ambiguous because it does not specify which declarations are
        sought. Plaintiffs further object to this request to the extent it seeks documents
        containing confidential information of third parties that is subject to the
        protective order entered in the Grande Litigation, and because it seeks
        documents that are public and equally available to BHN.
            With respect to expert reports submitted in the case, Plaintiffs further object
        to this request to the extent it purports to require Plaintiffs to disclose
        confidential, proprietary, or protected information belonging to third parties,
        because BHN has already engaged its own experts and may not freeride on the
        work of experts in a separate case through an improper document request, and
        as irrelevant to issues in this case.
           With respect to written discovery responses served or filed by Plaintiffs in
        the case, Plaintiffs further object to this request as overbroad, vague and
        ambiguous because it either improperly seeks all written discovery responses
        regardless of the subject matter of such discovery requests, or does not identify
        what specific information is being sought. Plaintiffs further object that any


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        discovery responses filed in the Grande Litigation are equally available to BHN,
        and because this request seeks an impermissible end-run around the numeric
        limits on interrogatories under the Federal Rules of Civil Procedure.
            With respect to pleadings and submissions to the court in the case, Plaintiffs
        further object because the submissions to the court in the Grande Litigation are
        overwhelmingly public and equally available to BHN, and because the request
        is overbroad, disproportionately burdensome, and irrelevant in seeking all
        pleadings and submissions without regard to subject matter.
            With respect to the trial exhibits in the case, Plaintiffs further object because
        no trial has occurred and, to the extent a trial does occur, trial exhibits would
        be public, equally available to BHN, and irrelevant to the extent unrelated to
        issues in this case.
            With respect to the source code produced in the case, Plaintiffs further
        object that this request seeks documents not in Plaintiffs’ possession. Plaintiffs
        further object to this request as irrelevant to the extent the plaintiffs in that case
        used different technology and vendors than in this case. Plaintiffs further object
        to this request because it seeks trade secret, confidential and/or proprietary
        information of third parties that is subject to the protective order entered in the
        Grande Litigation, as well as additional non-disclosure obligations. Plaintiffs
        further object because BHN’s expert has inspected the source code for both
        Audible Magic and MarkMonitor and BHN can make its own requests for
        portions of those companies’ source code that its experts deem relevant here.
        Plaintiffs also object to producing the requested source code as an improper
        attempt to discover what experts in a different case thought was important in
        requesting print-outs of certain portions.
           Pursuant to the foregoing objections, Plaintiffs will produce non-public
        deposition transcripts and sworn declarations of the Grande Plaintiffs’ fact
        witnesses from the Grande Litigation.

        RFP No. 101 seeks the same categories of materials as RFP No. 100, simply

  from the ongoing Grande Litigation in Texas as opposed to the Sony Litigation, and all

  the arguments provided above apply with equal force to this request. In the Grande

  case, just as in the Sony case, essentially the same group of plaintiffs as here brought

  the same secondary copyright liability claims against an internet service provider.

  Indeed, the lead plaintiff here (UMG Recordings, Inc.) is also the lead plaintiff in the

  Grande Litigation. Plaintiffs’ objection that the claims periods in the Grande case and



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  in this case differ misses the mark; the claims period in this case falls entirely within

  the claims period in Grande, meaning that the period in dispute here necessarily falls

  within the scope of discovery in Grande.

        As with the Sony Litigation, Plaintiffs have relied heavily on the Grande

  Litigation and invited the Court to do the same. See, e.g., Ex. A, Sept. 24, 2020 Hr’g

  Tr. 29:6-21 (Plaintiffs’ counsel arguing for discovery that was “relied on at the

  summary judgment stage in those [copyright infringement] cases like Grande”). The

  plaintiffs in the Charter Litigation have already been ordered to produce the documents

  that Bright House seeks from the Grande Litigation, and have nearly completed doing

  so; there would be little to no burden for Plaintiffs to do the same here. Grande’s

  counsel has proven ready and willing to assist in navigating the controlling protective

  order and have coordinated with both plaintiff and defense counsel to ensure

  documents are properly redacted and designated confidential as necessary. There is

  no reason for Plaintiffs to withhold relevant and readily accessible materials from the

  Grande Litigation.

            ORIGINAL RFP 102: Documents concerning the lawsuit BMG Rights
        Management (US) LLC et al. v. Cox Enterprises, Inc. et al., Case No. 1:14-cv-1611-
        LOG-JFA, in the United States District Court, Eastern District of Virginia,
        Alexandria Division, including but not limited to: documents produced by
        Plaintiffs in the case; deposition transcripts and exhibits thereto of depositions
        taken in the case or otherwise admitted as evidence in the case; fact and expert
        declarations submitted in the case whether at trial or in support of motion
        practice; expert reports submitted in the case; written discovery responses
        served or filed by Plaintiffs in that case; unredacted versions of pleadings and
        submissions to the court in the case; trial exhibits in the case; and source code
        produced in the case in document format based on print requests by Cox.
           NARROWED RFP 102: Deposition transcripts, declarations, and any
        exhibits thereto of plaintiff witnesses, defendant witnesses, third-party


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        witnesses, and expert witnesses, and expert reports and any exhibits thereto in
        BMG Rights Management (US) LLC et al. v. Cox Enterprises, Inc. et al., Case No.
        1:14-cv-1611-LOG-JFA, in the United States District Court, Eastern District of
        Virginia, Alexandria Division.
            OBJECTIONS & RESPONSE TO RFP 102: Plaintiffs object to this
        omnibus request for virtually all documents created during, produced in, and
        filed in a separate litigation, because the request is overly broad, unduly
        burdensome, and not proportional to the needs of the case. Plaintiffs also object
        to this request because it seeks information not relevant or important to
        resolving issues in the action, as it seeks information on issues that are
        irrelevant to this case, including but not limited to ownership and notices
        regarding copyrighted works asserted by the plaintiffs in BMG Rights
        Management (US) LLC et al. v. Cox Enterprises, Inc. et al. (the “BMG Litigation”);
        affirmative defenses not at issue here; works not at issue here; entities that are
        not parties to this litigation; and documents concerning information outside the
        relevant claim period in this litigation.
            With respect to documents produced by Plaintiffs in the BMG Litigation,
        Plaintiffs further object because Plaintiffs did not produce any documents in
        that case. Plaintiffs further object to this request as overly broad, irrelevant and
        cumulative. Plaintiff further object that, to the extent this request seeks
        documents relevant to this litigation which are actually within Plaintiffs’
        possession, custody, or control, it unnecessarily duplicates BHN’s other
        requests.
            With respect to deposition transcripts and exhibits thereto of all depositions
        taken in the BMG Litigation or otherwise admitted as evidence in the case,
        Plaintiffs further object to this request as irrelevant and overbroad. Plaintiffs
        further object to this request to the extent it requires Plaintiffs to disclose trade
        secrets or other confidential or proprietary information of third parties that is
        subject to the protective order entered in the BMG Litigation. Plaintiffs also
        object to production of expert depositions from the BMG Litigation as
        irrelevant, overbroad and improper. Plaintiffs further object to this request to
        the extent it seeks documents “admitted as evidence in the case,” which are
        public and equally available to BHN.
            With respect to fact and expert declarations submitted in the case whether
        at trial or in support of motion practice, Plaintiffs further object to this request
        as vague and ambiguous because it does not specify which declarations are
        sought. Plaintiffs further object to this request to the extent it seeks documents
        containing confidential information of third parties that is subject to the
        protective order entered in the BMG Litigation, and because it seeks documents
        that are public and equally available to BHN.
           With respect to expert reports submitted in the case, Plaintiffs further object
        to this request to the extent it purports to require Plaintiffs to disclose
        confidential, proprietary, or protected information belonging to third parties,



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        and because BHN has already engaged its own experts and may not freeride on
        the work of experts in a separate case through an improper document request.
            With respect to written discovery responses served or filed by Plaintiffs in
        the case, Plaintiffs further object in that they did not serve or file any written
        discovery responses in the BMG Litigation. Plaintiffs also object to this request
        as overbroad, vague and ambiguous because it either improperly seeks all
        written discovery responses regardless of the subject matter of such discovery
        requests, or does not identify what specific information is being sought.
        Plaintiffs further object that any discovery responses filed in the BMG Litigation
        are equally available to BHN, and because this request seeks an impermissible
        end-run around the numeric limits on interrogatories under the Federal Rules
        of Civil Procedure.
            With respect to pleadings and submissions to the court in the case, Plaintiffs
        further object because the submissions to the court in the BMG Litigation are
        overwhelmingly public and equally available to BHN, and because the request
        is overbroad, disproportionately burdensome, and irrelevant in seeking all
        pleadings and submissions without regard to subject matter.
            With respect to the trial exhibits in the case, Plaintiffs further object because
        the trial exhibits are public, equally available to BHN, and irrelevant in seeking
        documents unrelated to the issues in this case.
            With respect to the source code produced in the case, Plaintiffs further
        object that this request seeks document not in Plaintiffs’ possession. Plaintiffs
        further object to this request as irrelevant to the extent plaintiffs in that case
        used different technology and vendors than in this case. Plaintiffs further object
        to this request because it seeks trade secret, confidential and/or proprietary
        information of third parties that is subject to the protective order entered in the
        BMG Litigation, as well as additional non-disclosure obligations. Plaintiffs
        further object because BHN’s expert has inspected the source code for both
        Audible Magic and MarkMonitor and BHN can make its own requests for
        portions of those companies’ source code that its experts deem relevant here.
        Plaintiffs also object to producing the requested source code as an improper
        attempt to discover what experts in a different case thought was important in
        requesting print-outs of certain portions.
            Pursuant to the foregoing objections, Plaintiffs will not produce documents
        in response to this request.

        With respect to RFP No. 102, Bright House simply requests that Plaintiffs

  produce the same basic discovery materials from an earlier and related lawsuit, the

  BMG Litigation. Notably, the BMG case provided the template for the copycat

  litigations against internet service providers that followed; it was there that the music


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  industry first developed their dangerous (and meritless) theory of holding internet

  service providers secondarily liable for alleged copyright infringement by internet

  users. The BMG case was substantially smaller in scope than the copycat litigations

  and this lawsuit (for example, it included only two plaintiffs), such that the scope of

  discovery and any attendant burden on Plaintiffs is limited. Plaintiffs’ objections to

  this RFP are identical to their objections to Bright House’s other requests dealing with

  the copycat litigations and are without merit for all the reasons set forth above.

            ORIGINAL RFP 103:                Documents concerning the lawsuit UMG
        Recordings, Inc. et al. v. RCN Telecom Services, LLC et al., Case No. 3:19-cv-17272-
        MAS-ZNQ in the United States District Court, District of New Jersey,
        including but not limited to: documents produced by Plaintiffs in the case;
        deposition transcripts and exhibits thereto of depositions taken in the case or
        otherwise admitted as evidence in the case; fact and expert declarations
        submitted in the case whether at trial or in support of motion practice; expert
        reports submitted in the case; written discovery responses served or filed by
        Plaintiffs in that case; unredacted versions of pleadings and submissions to the
        court in the case; trial exhibits in the case; and source code produced in the case
        in document format based on print requests by RCN Telecom Services.

           NARROWED RFP 103: Deposition transcripts, declarations, and any
        exhibits thereto of plaintiff witnesses, defendant witnesses, third-party
        witnesses, and expert witnesses, and expert reports and any exhibits thereto in
        UMG Recordings, Inc. et al. v. RCN Telecom Services, LLC et al., Case No. 3:19-cv-
        17272-MAS-ZNQ in the United States District Court, District of New Jersey.
            OBJECTIONS & RESPONSE TO RFP 103: Plaintiffs object to this
        omnibus request for virtually all documents created during, produced in, and
        filed in a separate litigation, because the request is overly broad, unduly
        burdensome, and not proportional to the needs of the case. Plaintiffs also object
        to this request because it seeks information not relevant or important to
        resolving issues in the action, as it seeks information on issues that are
        irrelevant to this case, including but not limited to ownership and notices
        regarding copyrighted works asserted by the plaintiffs in UMG Recordings, Inc.
        et al. v. RCN Telecom Services, LLC et al. (the “RCN Litigation”); affirmative
        defenses not at issue here; works not at issue here; entities that are not parties
        to this litigation; and documents concerning information outside the relevant
        claim period in this litigation.




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            With respect to documents produced by Plaintiffs in the RCN Litigation,
        Plaintiffs further object to this request as overly broad, irrelevant and
        cumulative. BHN has already served more than 100 document requests,
        encompassing many of the same topics addressed and documents produced in
        the RCN Litigation. Plaintiff further object that, to the extent this request seeks
        documents relevant to this litigation, it unnecessarily duplicates BHN’s other
        requests.
            With respect to deposition transcripts and exhibits thereto of all depositions
        taken in the RCN Litigation or otherwise admitted as evidence in the case,
        Plaintiffs further object as irrelevant, overbroad, and because no depositions
        have occurred. Plaintiffs further object to this request to the extent it requires
        Plaintiffs to disclose trade secrets or other confidential or proprietary
        information of third parties that is subject to the protective order entered in the
        RCN Litigation. Plaintiffs also object to production of expert depositions from
        the RCN Litigation as irrelevant, overbroad and improper. Plaintiffs further
        object to this request to the extent it seeks documents “admitted as evidence in
        the case,” which are public and equally available to BHN.
            With respect to fact and expert declarations submitted in the case whether
        at trial or in support of motion practice, Plaintiffs further object to this request
        as vague and ambiguous because it does not specify which declarations are
        sought. Plaintiffs further object to this request to the extent it seeks documents
        containing confidential information of third parties that is subject to the
        protective order entered in the RCN Litigation, and because it seeks documents
        that are public and equally available to BHN.
            With respect to expert reports submitted in the case, Plaintiffs further object
        to this request because no expert reports have been submitted. Plaintiffs further
        object to this request to the extent it purports to require Plaintiffs to disclose
        confidential, proprietary, or protected information belonging to third parties,
        and because BHN has already engaged its own experts and may not freeride on
        the work of experts in a separate case through an improper document request.
            With respect to written discovery responses served or filed by Plaintiffs in
        the case, Plaintiffs further object to this request as overbroad, vague and
        ambiguous because it either improperly seeks all written discovery responses
        regardless of the subject matter of such discovery requests, or does not identify
        what specific information is being sought. Plaintiffs further object that any
        discovery responses filed in the RCN Litigation are equally available to BHN,
        and because this request seeks an impermissible end-run around the numeric
        limits on interrogatories under the Federal Rules of Civil Procedure.
            With respect to pleadings and submissions to the court in the case, Plaintiffs
        further object because the submissions to the court in the RCN Litigation are
        overwhelmingly public and equally available to BHN, and because the request
        is overbroad, disproportionately burdensome, and irrelevant in seeking all
        pleadings and submissions without regard to subject matter.



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            With respect to the trial exhibits in the case, Plaintiffs further object because
        no trial has occurred and, to the extent a trial does occur, trial exhibits would
        be public, equally available to BHN, and irrelevant to the extent unrelated to
        issues in this case
            With respect to the source code produced in the case, Plaintiffs further
        object that this request seeks document not in Plaintiffs’ possession. Plaintiffs
        further object to this request as irrelevant to the extent the plaintiffs in that case
        used different technology and vendors than in this case. Plaintiffs further object
        to this request because it seeks trade secret, confidential and/or proprietary
        information of third parties that is subject to the protective order entered in the
        RCN Litigation, as well as additional non-disclosure obligations. Plaintiffs
        further object because BHN’s expert has inspected the source code for both
        Audible Magic and MarkMonitor and BHN can make its own requests for
        portions of those companies’ source code that its experts deem relevant here.
        Plaintiffs also object to producing the requested source code as an improper
        attempt to discover what experts in a different case thought was important in
        requesting print-outs of certain portions.
            Pursuant to the foregoing objections, Plaintiffs will not produce documents
        responsive to this request.

        Finally, with respect to RFP No. 103, Bright House seeks the same narrow

  categories of materials from the RCN Litigation as from the other copycat litigations.

  Plaintiffs do not articulate any difference between the RCN case and the other cases

  discussed above, and their objections fare no better here than they do with regards to

  Bright House’s other requests. Plaintiffs do correctly state that no depositions have

  occurred nor any expert reports been submitted in the RCN Litigation as of yet, but

  that is no reason to refuse to produce those materials; parties’ discovery obligations

  are continuous in nature, and an order for Plaintiffs to produce deposition transcripts,

  expert reports, and exhibits thereto would simply call for their production at the

  appropriate time.




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  II.    PLAINTIFFS SHOULD BE ORDERED TO SIMPLY ADMIT OR DENY
         WHETHER THEY OWN THE DROPPED WORKS (RFAs 110-364).

             RFAs 110-364:2 Admit that You did not own, or have authorization to
         assert rights on behalf of the owner for, the Dropped Work [that is specified in
         the Appendix to this Motion] during the Claims Period.
             OBJECTIONS & RESPONSE TO RFAs 110-364: Plaintiffs object to this
         RFA as overly broad, unduly burdensome, irrelevant, and not proportional to
         the needs of the case, including because it (1) seeks information that is not
         relevant to any claim or viable defense at issue in the case; (2) is not limited to
         works at issue in the case; (3) relates only to BHN’s improper and now-
         dismissed counterclaims (Dkt. 244); and (4) is an impermissible subject of
         discovery in light of Judge Wilson's denial of BHN’s motion to compel
         production of documents concerning so-called “Dropped Works” (see Dkt. 210;
         10/9 Hr’g Tr. 117:2–13). Plaintiffs further object to this RFA to the extent it
         calls for legal conclusions. Plaintiffs object to this RFA as vague, ambiguous,
         and incomprehensible as to the term “authorization to assert rights on behalf
         of the owner[.]” Plaintiffs object to this RFA as seeking information protected
         by the attorney-client privilege, the work-product doctrine, the common-
         interest privilege, or any other applicable privilege or protection from disclosure
         to the extent it seeks information about litigation strategy concerning the so-
         called “Dropped Works.” Based on the foregoing objections, denied.

         Bright House’s RFAs Nos. 110-364 call for information to test a key aspect of

  Plaintiffs’ theory of this case: that the sheer volume of infringement notices that Bright

  House received—regardless of whether the notices were for the works-in-suit—is

  evidence of rampant piracy on its networks. See Dkt. 94, First Am. Compl. (“FAC”)

  ¶ 2 (Jan. 7, 2020) (alleging “hundreds of thousands of statutory infringement notices

  [sent] to Bright House”). Plaintiffs have made clear all along that they intend to rely

  on notices that they did not send and that do not implicate the works-in-suit to argue



  2
      RFAs Nos. 110-364 and the Responses and Objections thereto are substantively identical, each
  related to one Dropped Work. The particular Dropped Work identified in each RFA can be found in
  the Appendix to this motion. Bright House notes this Court’s standing order directing parties to quote
  each request and response in full, immediately followed by argument regarding the request. Given
  that these RFAs are essentially identical in substance (other than the identification of the specific
  Dropped Work), Bright House has grouped them together in the interests of efficiency and clarity.


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  that Bright House was put on notice of infringement, and hence should be held liable

  for failing to act. See, e.g., FAC ¶ 87 (alleging that “despite receiving over one hundred

  thousand infringement notices from Plaintiffs, as well as thousands of similar notices

  from other copyright owners, Bright House knowingly permitted specifically identified

  repeat infringers to continue to use its network to infringe” (emphasis added)); Ex. L,

  Pls.’ 2d Set of RFAs (Jan. 15, 2021), at RFA No. 10 (calling for Bright House to admit

  it “received at least 109,000 Infringement Notices sent by Plaintiffs or on behalf of

  Plaintiffs during the Claim Period,” with no exception for notices for works not in this

  lawsuit); see also Ex. D, Charter Feb. 23, 2021 Hr’g Tr. 75:6-15 (Plaintiffs’ counsel

  affirming that Plaintiffs “will rely on all of those [notices, including for works not

  covered by Plaintiffs’ claims] as evidence of an astronomical amount of infringement

  that was occurring on Charter’s network”).          Plaintiffs’ theory is fundamentally

  premised on the accuracy of all of the notices of alleged infringement it sent to Bright

  House, not only notices related to the works-in-suit. The accuracy of Plaintiffs’ entire

  notice program is drawn sharply into question by Plaintiffs’ decision to remove the

  Dropped Works (for which it sent notices and brought suit) from this action.

         Bright House does not seek admissions about Plaintiffs’ ownership of every

  work that was the subject of an infringement notice; rather, Bright House’s requests

  concern only the Dropped Works. See supra, RFAs Nos. 110-364. Given that the

  Dropped Works implicated over $38 million in damages, there is strong reason to

  believe that Plaintiffs only dropped the claims after realizing that they did not, in fact,

  own the Dropped Works. See FAC ¶ 97 (alleging Plaintiffs were entitled to statutory

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  damages of up to $150,000 per work, including the Dropped Works). If Plaintiffs’

  system indeed generated en masse infringement notices for works they did not own,

  that undermines the reliability of Plaintiffs’ core evidence of direct infringement,

  rendering Plaintiffs’ ownership of the Dropped Works directly relevant to this action.

  Plaintiffs have argued that there are other reasons why they removed some of the

  works from their Complaint, but notably Plaintiffs have not affirmatively represented

  that they owned the Dropped Works. See Ex. G, Oct. 9, 2020 Hr’g Tr. 17:17-18:7

  (providing “a few examples” of why certain, unnamed works were dropped). Bright

  House should not have to rely on these self-serving arguments, but is entitled to a clear

  and straightforward answer as to whether Plaintiffs in fact own the Dropped Works. 3

         Plaintiffs’ objections do not alter this state of affairs. Given that Plaintiffs

  themselves plan to ask the jury to find in their favor because Bright House allegedly

  failed to act on notices for works that are not the subject of any claim, Plaintiffs’

  objections that the RFAs in question “seek[] information that is not relevant to any

  claim or viable defense at issue in the case … [and] [are] not limited to works at issue

  in the case” ring hollow. See supra, Objs. & Resps. RFAs Nos. 110-364. Likewise, it

  is incorrect that the RFAs “relate[] only to B[right] H[ouse ]’s improper and now-

  dismissed counterclaims.” See id. In fact, the admissions Bright House seeks relate

  directly to the legal theory and litigation theme that Plaintiffs themselves have put



  3
       In the alternative, Plaintiffs should be estopped from asserting that they own the Dropped Works
  if they are unwilling to admit or deny that ownership.



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  forward, and while the admissions certainly would have been relevant to Bright

  House’s counterclaims were they still part of this case, that does not render the

  admissions irrelevant to Plaintiffs’ current claims. 4

          Nor can Plaintiffs credibly label Bright House’s requests “unduly burdensome”

  given that Plaintiffs had an obligation under Rule 11 to determine the ownership of

  the works they asserted before filing their original and amended complaints. If

  Plaintiffs satisfied this obligation, then the information Bright House seeks in these

  RFAs should be readily available to Plaintiffs, and the burden (if any) of responding

  would be minimal. If they did not, the principles of integrity require Plaintiffs to come

  forward with this information now.               Further, at a recent hearing in the Charter

  Litigation, Plaintiffs’ counsel “affirmatively represent[ed] to [the Court]” that it was

  counsel’s “good faith belief, after a reasonable investigation, that [Plaintiffs] did own

  those [dropped works]”—but, notably, the Court was only willing to accept that

  representation because Plaintiffs had already substantively responded to an RFA

  regarding Plaintiffs’ ownership of those dropped works. Ex. D, Charter Feb. 23, 2021

  Hr’g Tr. 180:6-10.




  4
      Bright House has maintained the position that information about whether Plaintiffs owned the
  Dropped Works is relevant to defending Plaintiffs’ affirmative claims, and not only Bright House’s
  counterclaims, throughout. See e.g., Ex. G, Oct. 9, 2020 Hr’g Tr. 116:11-13 (“This will help us not
  only with our counterclaims, but also with the theme in our case about the reliability entirely of the
  process here.”); id. at 19:13-19 (“[O]ur defense in this billion-dollar case is based in part on the fact
  that there are problems [with the Dropped Works] and we conspicuously didn’t hear opposing counsel
  say that there weren’t ownership problems with some of the dropped works. I can assure you
  discovery will show that there are ownership problems with some of the dropped works.”).


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        Finally, Plaintiffs’ objection that discovery regarding their ownership of the

  Dropped Works “is an impermissible subject of discovery in light of Judge Wilson’s

  denial of B[right] H[ouse ]’s motion to compel production of documents” misstates

  the record. See supra, Objs. & Resps. RFAs Nos. 110-364 (citing Oct. 9, 2020 Hr’g Tr.

  117:2-13). The RFAs that are the subject of this motion are readily distinguishable

  from Bright House’s previous RFP and were drafted pursuant to the Court’s prior

  guidance. The Court’s prior holding was based in part on Bright House’s RFP being

  “overly broad.” Ex. G, Oct. 9, 2020 Hr’g Tr. 117:7. That RFP called for

        Documents sufficient to demonstrate Your ownership of, or possession of an exclusive
        right in, each of the Dropped Works at the time You sent a Notice of Alleged
        Infringement for that Dropped Work, and that You were authorized to send Notices
        of Alleged Infringement concerning those works between January 2013 and March
        2015.

  Dkt. 159, Mot. Compel at 24 (Aug. 17, 2020). Here, Bright House seeks something

  far narrower—to admit or deny that:

        [Plaintiffs] did not own, or have authorization to assert rights on behalf of the owner
        for, the Dropped Work[s] during the Claims Period.

  Supra, RFAs Nos. 110-364. Plaintiffs are not required to search for or produce

  documents or to provide extraneous information under this targeted discovery request;

  they must simply admit or deny ownership. Moreover, at the October 9, 2020 hearing,

  the Court found that the materials Bright House sought, namely documents sufficient

  to show that Plaintiffs did own the Dropped Works, were not relevant, as such

  documents by their very nature would not provide the evidence Bright House argued

  was necessary—proof that Plaintiffs did not own the Dropped Works. Ex. G, Oct. 9,

  2020 Hr’g Tr. 118:2-7. Bright House’s RFAs resolve this problem by requesting a

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  straightforward answer to the question of whether Plaintiffs in fact own each of the

  Dropped Works. Supra, RFAs Nos. 110-364.5

                                            CONCLUSION

          For these reasons, Bright House respectfully requests that the Court order

  Plaintiffs to produce documents pursuant to Requests for Production 100-103 and

  substantively respond to Requests for Admission 110-364.




  5
       Plaintiffs’ remaining conclusory objections fall short as well. Bright House’s requests do not call
  for any legal conclusions, but rather pose the factual question of whether Plaintiffs owned certain
  works or had been authorized by the owners of those works to assert claims on their behalf. That is,
  the requests call for “facts [or] the application of law to fact” and therefore fall within the scope of
  Rule 36. See Fed. R. Civ. P. 36(a)(1) (setting out permissible scope of requests for admission); see also,
  e.g., Gurzi v. Penn Credit Corp., 2019 WL 8273647, at *2 (M.D. Fla. Dec. 30, 2019) (overruling
  Defendant’s objection that RFA called for a legal conclusion and compelling it to “[a]dmit that the
  dialing system used to call Plaintiff was an ‘automatic telephone dialing system’ for purposes of the
  TCPA”). Nor can Plaintiffs invoke any privilege with respect to the factual question of whether they
  owned particular works—a question that does not implicate legal advice by anyone and does not ask
  Plaintiffs to produce any communications with or between counsel or any attorney work-product.
  Finally, Plaintiffs declined to explain what was, in their view, “vague, ambiguous, and
  incomprehensible” about the phrase “authorization to assert rights on behalf of the owner” as used in
  the RFAs after Bright House raised the issue during the meet-and-confer process. See Ex. J, Feb. 3,
  2021 P. Hill Email.


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  Dated: April 30, 2021                   Respectfully submitted,


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                    L.R. 3.01(g) CERTIFICATION OF COUNSEL

         Pursuant to Local Rule 3.01(g), counsel for Bright House conferred with

  counsel for Plaintiffs multiple times regarding the relief sought in this motion, and the

  parties were unable to reach agreement on resolution of the relief sought in this

  motion. Counsel for Bright House contacted counsel for Plaintiffs before bringing this

  motion to provide notice of its filing but Plaintiffs declined to provide their position on

  the motion and therefore it appears the parties remain at an impasse. In the event

  Plaintiffs change their position, Bright House will supplement this motion with a

  statement certifying whether the parties have resolved all or part of the motion, as

  called for by Local Rule 3.01(g)(3). The parties conferred by means of email.



                                                          /s/ Andrew H. Schapiro
                                                          Andrew H. Schapiro




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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 30, 2021, I caused a true and correct copy

  of the foregoing Motion to Compel and all supporting materials thereto to be filed

  electronically with the Clerk of the Court using the CM/ECF system, which will send

  a notice of electronic filing to all counsel of record.

                                                       /s/ Andrew H. Schapiro
                                                       Andrew H. Schapiro




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